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2018R00086 / DAW /BAW/ DEC 2 0 2018

UNITED STATES DISTRICT COURT “" &30

DISTRICT OF NEW JERSEY CLERM ESA

UNITED STATES OF AMERICA : Hon. Brian R. Martinotti, U.S.D.J.

. : Crim. No. 18-75] (Bem)

STEPHEN BRADLEY MELL, : PRELIMINARY ORDER OF
FORFEITURE AS TO SPECIFIC
Defendant. : PROPERTY (FINAL AS TO THE
DEFENDANT)
WHEREAS, on or about December 20, 2018, defendant Stephen Bradiey
Mell (the “defendant”) pleaded guilty pursuant to a plea agreement with the
United States to a two-count Information charging him with (i) traveling in
interstate commerce for the purpose of engaging in illicit sexual conduct with a
minor, in violation of 18 U.S.C. § 2423(b) (Count One), and receipt of child
pornography, in violation of 18 U.S.C. § 2252A(a}(2)(A) (Count Two);
WHEREAS, as part of his plea agreement, the defendant agreed to forfeit
to the United States, pursuant to 18 U.S.C. §§ 2428 and 2253, all of his right,
title and interest in (i) all computer and computer accessories on which law
enforcement, in or about May 2018, discovered visual depictions described in
18 U.S.C. §§ 2251, 2251 A, 2252, 2252A, 2252B, and 2260; (ii) all visual
depictions described in 18 U.S.C. §§ 2251, 2251A, 2252, 2252A, 2252B,
and 2260 that were produced, transported, shipped, or received in violation of

chapter 109A of Title 18, United States Code; (iii) all property, real and
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personal, constituting or traceable to gross profits or other proceeds obtained
from the offenses charged in the Information; and (iv) all property, real and
personal, used or intended to be used to commit or to promote the commission
of the offenses charged in the Information; and all property traceable to such
property, including all property listed on Schedule A hereto (hereinafter
referred to together as the “Specific Property”);

WHEREAS, in the plea agreement, the defendant further consented to
the entry of orders of forfeiture as to the Specific Property pursuant to Rule
32.2(b)(2) of the Federal Rules of Criminal Procedure; to waive all interest in
the Specific Property in any administrative or judicial forfeiture proceeding,
whether criminal or civil, state or federal; and to waive the requirements of
Rules 32.2 and 43(a) of the Federal Rules of Criminal Procedure regarding
notice of the forfeiture in the charging instrument, announcement of the
forfeiture at sentencing, and incorporation of the forfeiture in the judgment.
The defendant further acknowledged that the forfeiture of the Specific Property
is part of the sentence that may be imposed upon him in this case and waived
any failure by the Court to advise him of this at the guilty plea proceeding
pursuant to Rule 11(b)(1)(J) of the Federal Rules of Criminal Procedure; and
further waived any and all claims that the forfeiture constitutes an excessive
fine and agreed that the forfeiture does not violate the Eighth Amendment;

WHEREAS, the Specific Property is presently in the custody of the

Federal Bureau of Investigation;
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WHEREAS, pursuant to 21 U.S.C. § 853(n)(1) (as incorporated by 18
U.S.C. §§ 2428 and 2253(b)) and Federal Rule of Criminal Procedure 32.2(b)(6),
the Government is now required to publish notice of the forfeiture and provide
notice to any person who reasonably appears to be a potential claimant with
standing to contest the forfeiture in the ancillary proceeding;

WHEREAS, good and sufficient cause having been shown, it is hereby
ORDERED, ADJUDGED, AND DECREED THAT:

1. Pursuant to 18 U.S.C. §§ 2428 and 2253, by virtue of the
defendant’s guilty plea to the Information, and pursuant to the plea agreement
and Rule 32.2(b)(2}(A) of the Federal Rules of Criminal Procedure, all of the
defendant’s right, title, and interest in all property listed on Schedule A hereto
(hereinafter referred to together as the “Specific Property”) is hereby forfeited to
the United States for disposition according to law, subject to the provisions of
21 U.S.C. § 853(n)(1) (as incorporated by 18 U.S.C. §§ 2428 and 2253(b)).

2. Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal
Procedure, this Order of Forfeiture shall be final against defendant Stephen
Bradley Mell, shall be made part of the sentence of defendant Stephen Bradley
Mell, and shall be included in the judgment of conviction therewith.

3. Pursuant to 21 U.S.C. § 853(n)(1) and Rule 32.2(b)(6) of the
Federal Rules of Criminal Procedure, the United States shall publish notice of
this Order for at least 30 consecutive days on the government internet site

www .forfeiture.gov. The United States shall also send notice of this Order to

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any person who reasonably appears to be a potential claimant with standing to
contest the forfeiture in the ancillary proceeding.

4. The notice of forfeiture must describe the forfeited property with
reasonable particularity, state the times by which a petition contesting the
forfeiture must be filed, and state the name and contact information for the
government attorney to be served with the petition. The notice shall also state
that the petition (i) shall be for a hearing to adjudicate the validity of the
petitioner's alleged interest in the Specific Property, (ii) shall be signed by the
petitioner under penalty of perjury, and (iii) shall set forth the nature and
extent of the petitioner's right, title or interest in the Specific Property, the time
and circumstances of the petitioner's acquisition of the right, title and interest
in the Specific Property, any additional facts supporting the petitioner's claim,
and the relief sought. See Fed R. Crim. P. 23.2(b)(6); 21 U.S.C. § 853(n)(2), (3).

5S. Any person, other than the defendant, claiming interest in the
Specific Property must file a petition within 60 days from the first day of
publication of notice on the government internet site (or, if direct notice was
sent, no later than 35 days from the mailing of direct notice), pursuant to Rule
32.2(b)(6) of the Federal Rules of Criminal Procedure and Rule G(4) and G(5) of
the Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture
Actions.

6. The Federal Bureau of Investigation shall maintain custody of the

Specific Property and hold such property in its secure custody and control until
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the conclusion of any related or ancillary matters, and the adjudication of all, if
any, third-party interests in this case.

7. Upon adjudication of all third-party interests, this Court will enter
a final order of forfeiture pursuant to 21 U.S.C. § 853(n)(7) and Rule 32.2(c)(2},
in which all interests will be addressed.

8. This Court shall retain jurisdiction to enforce this Order, and to
amend it as necessary, pursuant to Rule 32.2(e) of the Federal Rules of
Criminal Procedure.

9. Following the entry of a Final Order of Forfeiture in the above-
captioned case, the Federal Bureau of Investigation is authorized to dispose of
the Specific Property named in the Final Order of Forfeiture in accordance with
the law, including, but not limited to, the destruction of the property.

ORDERED this day of December, 2018.

HONORABLE BRIAN R. MARTINOTTI
United States District Judge
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The undersigned hereby consent to
the entry and form of this Order:

CRAIG CARPENITO
United States Attorney

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Assistant aed States Attorney

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ROBERT BIANCHI, ESO

Attorney for De

Dated: ZL - le ly

 

\STEPHEN BRADLEY MELL, Defendant
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SCHEDULE A

The following property seized from the defendant’s residence in Far Hills,

New Jersey on or about May 9, 2017:

a.

b.

One Dell Dimension computer serial number BSCMK11,
One Dell Precision computer, serial number COTSTR1,

One black iPhone 8, model A1863, IMEI: 356699085317740,
Two Cruzer Micro 512MB thumb drives,

One Garmin Navdata device in white envelope,

One DVR UMAX FLEX “Main House,” VMC 161412320217,
One DVR UMAX FLEX “Barn,” VMC 161413030206,

One LACIE EXTERNAL HARD DRIVE, serial number
15661310241814QR,

One iPhone, IMEI 3588 13054826346,
One Apple MacBook Pro, serial number C2VF8M3XDH2G,
One Dell Inspiron 1800, model PPO1X, and

One 8G SanDisk Memory Vault, serial number 113701300199.
